   Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 1 of 6. PageID #: 414354


                                       UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION,                                                       MDL NO. 2804
OPIATE LITIGATION
                                                                                    Case No. 17-MD-2804

                                                                                    Judge Dan Aaron Polster
THIS DOCUMENT RELATES TO:


Rees v. McKesson Corporation, et al.      Ellis v. Purdue Pharma, L.P., et al.      Simonson v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45252                   MDL Case No. #1:19-op-45464               MDL Case No. #1:19-op-45479

Wood v. Purdue Pharma L.P., et al.        DeMaro v. Purdue Pharma, L.P., et al.     Delancey v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45264                   MDL Case No. #1:19-op-45465               MDL Case No. #1:19-op-45480

Salmons v. Purdue Pharma L.P., et al.     Cruz v. Purdue Pharma, L.P., et al.       Stewart v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45268;                  MDL Case No. #1:19-op-45466               MDL Case No. #1:19-op-45481

Ambrosio v. Purdue Pharma L.P., et al.    Paul v. Purdue Pharma, L.P., et al.       Shewmake v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45375                   MDL Case No. #1:19-op-45467               MDL Case No. #1:19-op-45482

Flanagan v. Purdue Pharma L.P., et al.    Lechuga v. Purdue Pharma, L.P., et al.    Weatherwax v. Purdue Pharma, LP., et al.
MDL Case #1:18-OP-45405                   MDL Case No. #1:19-op-45468               MDL Case No. #1:19-op-45483

Whitley v. Purdue Pharma LP., et al.      Brumbarger v. Purdue Pharma, LP., et al. Martinez v. Purdue Pharma, L.P., et al.
MDL Case #1:18-OP-45598                   MDL Case No. #1:19-op-45469              MDL Case No. #1:19-op-45484

Roach v. McKesson Corporation, et al.     Means v. Purdue Pharma, L.P., et al.      Warren v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-OP-45662               MDL Case No. #1:19-op-45470               MDL Case No. #1:19-op-45486

Hunt v. Purdue Pharma L.P., et al.        Peterson v. Purdue Pharma, L.P., et al.   Carlson v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-OP-45681               MDL Case No. #1:19-op-45472               MDL Case No. #1:19-op-45487

Hanlon v. Purdue Pharma L.P., et al.      Hampel v. Purdue Pharma, L.P., et al.     Flach v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45052               MDL Case No. #1:19-op-45473               MDL Case No. #1:19-op-45488

Doyle v. Purdue Pharma L.P., et al.       Whittaker v. Purdue Pharma, L.P., et al. Ivie v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-op-46327               MDL Case No. #1:19-op-45475              MDL Case No. #1:19-op-45489

Moore v. Purdue Pharma L.P., et al.       Tuttle v. Purdue Pharma, L.P., et al.     Cherry v. Purdue Pharma, L.P., et al.
MDL Case No. #1:18-op-46305               MDL Case No. #1:19-op-45476               MDL Case No. #1:19-op-45490

Artz v. Purdue Pharma, L.P., et al.       Hamawi v. Purdue Pharma, L.P., et al.     Ortiz v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45459               MDL Case No. #1:19-op-45477               MDL Case No. #1:19-op-45492

Rodriquez v. Purdue Pharma, L.P., et al. Gauthier v. Purdue Pharma, L.P., et al.    Meinecke v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45463              MDL Case No. #1:19-op-45478                MDL Case No. #1:19-op-45493




                                                              1
   Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 2 of 6. PageID #: 414355



Brant v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45494

Williams, v. Purdue Pharma, L.P., et al.
MDL Case No. #1:19-op-45485



     PLAINTIFFS’ MOTION TO EXTEND TIME TO FILE AMENDED CLASS ACTION
                   COMPLAINTS FOR GOOD CAUSE SHOWN

           Pursuant to Fed. R. Civ P. 6(b), Plaintiffs hereby respectfully move this Honorable Court

  to enter an Order extending time to file the Amended Class Action Complaints for thirty (30) days

  for the following good cause:

           1.        This Court has set September 16, 2019 to file their Amended Class Action

  Complaints.

           2.        On July 12, 2019, the PEC provided the NAS Baby Plaintiffs’ counsel the key for

  a Relativity Database in which 30,185,372 discovery documents were downloaded. That was the

  first date the PEC gave access to discovery to the NAS Baby counsel.

           3.        On July 22, 2019, NAS Baby counsel provided the Declaration of Counsel Kevin

  Thompson in support of NAS Baby counsel’s Motion for Expedited Case Management Conference

  for Good Cause Shown [Rec. Doc. 1943]. Mr. Thompson stated that:

                     …the Baby Plaintiffs have deployed attorneys and staff across the
                     country to undertake such review and targeted searches as necessary
                     to support the filing of four class certification motions.

  Declaration of Counsel Kevin Thompson [Rec. Doc. 1943] at Paragraph 7. Mr. Thompson further

  stated that:

                     Baby Plaintiffs still do not have access to formal discovery requests
                     and responses as well as notices, such as notices of 30(b)(6)
                     depositions. Therefore, Baby Plaintiffs do not know what was
                     previously requested by the other Plaintiffs nor the Defendants’
                     responses.




                                                      2
Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 3 of 6. PageID #: 414356




Declaration of Counsel Kevin Thompson [Rec. Doc. 1943] at Paragraph 8. This Court’s July 26,

2019 order was responsive to this.

        4.     On July 26, 2019, in its Order Regarding NAS Baby Motions [Rec. Doc. 2030] this

Court recognized that the NAS Baby counsel stated that they had “not received sufficient

discovery.” This Court ordered:

               This Court also makes clear that all counsel of record for the NAS
               Baby cases are entitled to review all formal discovery requests and
               responses, all existing discovery, and any documents that have been
               placed under seal, once counsel has signed any required protective
               orders and discovery sharing agreements. The PEC shall undertake
               to provide this access to NAS Baby counsel as soon as possible.

July 26, 2019 Order Regarding NAS Baby Motions [Rec. Doc. 2030] (emphasis added).

        5.     NAS Baby counsel have diligently worked with PEC counsel to receive all the

ordered documents which were to be produced in tranches.

        6.     Over the past 40 days, a team of attorneys have reviewed millions of documents

and Relativity data and have been unable to locate the formal discovery ordered to be produced.

        7.     Apparently, instead of providing separate production of the formal discovery, the

ordered “all formal discovery requests and responses,” the PEC created a document dump by

downloading that “formal discovery” into the Relativity database. After making its best efforts to

search through that massive 30 million document database, NAS Baby counsel found some of the

“formal discovery” but cannot identify the complete set of formal discovery as it is fragmented in

segments located in different locations in the massive database.

        8.     Declarations have been made by the PEC and Plaintiffs’ Liaison Counsel that the

NAS Babies’ interests are being protected, but we have not received any of the discovery requests

and responses, and the 30(b)(6) notices addressing the NAS Baby issues. (See Exhibit 1, letter to

PEC).



                                                3
Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 4 of 6. PageID #: 414357




       9.      NAS Baby counsel are unable to determine what discovery concerning the NAS

Babies has been requested.

       10.     Counsel for the NAS Babies must determine what has been requested and what has

been provided in response. This is critical. For example, NAS Baby counsel’s independent

research has identified many documents not produced that are critical to NAS Babies, such as rats

and rabbit studies related to teratogenic effects in utero. Did the PEC attorneys ever request such

documents? NAS Baby counsel have yet to find such discovery requests.

       11.     The lack of this critical discovery involving the NAS Babies unduly prejudices our

preparation of the Amended Class Action Complaints for the NAS Babies to meet the Court’s

September 16, 2019 deadline (as well as prejudices our efforts in preparing a scheduling order

with the Defendants and prejudices our preparation of our Motions for Class Certification in

compliance with the attached non-document order.)

       WHEREFORE, Plaintiffs’ respectfully request that this Honorable Court enter an Order

extending time to file the Amended Class Action Complaints for thirty (30) days, and award

Plaintiffs such other and further relief as may be deemed just and proper.

       Dated: September 13, 2019



                                                     Respectfully submitted,

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                                                4
Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 5 of 6. PageID #: 414358




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                                      5
Case: 1:17-md-02804-DAP Doc #: 2605-1 Filed: 09/14/19 6 of 6. PageID #: 414359




                                   CERTIFICATE OF SERVICE

       A copy of the foregoing was filed via the Court’s electronic filing system on September

14, 2019. Notice of this filing will be sent by e-mail through the Court’s electronic case-filing

system to all counsel of record.

                                                     /s/Scott R. Bickford
                                                     SCOTT R. BICKFORD




                                               6
